Case 1:05-cv-Olll7-.]DT-STA Document 6 Filed 07/26/05 Page 1 of 3 Page|D 14

;:ILED BY_L D.C.

IN THE UNITED sTATEs DISTRICT couR{;$ JU{_ 26 Amo,zg
FoR THE WESTERN DISTRICT oF TENNEssEE
EASTERN DIvIsIoN

 
   
 
 
 

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DANIELLE WORRELL

Plaintiff,

vs Civil NO. 05-1117-T/An

MICHAEL'S STEAKHOUSE and
MIKE DAY

Defendant.

 

ORDER SETTING CASE FOR TRIAL

 

This is to notify you that this case is set for NON-JURY TRIAL
on WEDNESDHY, JUNE 21, 2006 ,at 9:30 a.m. in Rm 432, U. S.
Courthouse. Jackson, TN. The joint pre-trial order must be
submitted to the court by FRIDAY, JUNE 9, 2006. All Discovery must
be completed before that date.

Counsel, and any party proceeding prp §e, MUST confer and
attempt to prepare a joint pre-trial order Which covers the items
set forth.below. If a joint pre-trial order cannot be agreed_upon,
the attorneys must notify the court at least 10 days prior to trial
that a pre-trial conference may be necessary. In addition to
notifying the court, the attorney for each party cn: a party
proceeding pro se must submit a draft of a pre-trial order that
considers the following matters:

l. any jurisdictional questions, and the proper ruling

thereon;

2. any questions raised by pending motions, and the

proper ruling thereon;

3. the respective contentions of the parties, including

the contentions of the parties with regard to the nature

and amounts of damages;

4. specific facts that may be stipulated (possible

sources of these agreed facts are the pleadings,

discovery, or admission of counsel);

5. contested issues of fact;
6. contested issues of law;
7. exhibits (except documents for impeachment only) to

be offered in evidence by the parties, and to the extent
possible, a stipulation as to admissibility;
8. Witnesses for the parties - indicate those Who Will

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be called in the absence of reasonable notice to opposing

counsel to the contrary and those Who may be called as a

possibility only.

Counsel, and any party proceeding p_@ _s§, are also directed to
confer and exchange information as to the ultimate issues of law
and fact, eliminating unnecessary or irrelevant issues that may
appear in the pleadings or discovery, offered in evidence at the
trial.

In the event a pre-trial conference is necessary those who
will try the case snill be generally familiar~ with. pre-trial
procedures and come to a pre-trial conference with full authority
to accomplish the purpose of the conference, which is to simplify
and. define the triable issues, expedite the trial, and save
expense. At the time of the conference, counsel and any party
proceeding p;g §§ will report to the court the prospects of
settlement as well as estimates of the length of time it will take
to try the case. For a discussion of pre-trial conferences and a
modified form for a pre-trial order, see Hon. A. Sherman

 

Christenson, When Is A Pre-Trial Conference A "Pre-Trial
Conference"?l 23 F.R.D. 129 (1958) (paper presented before Pre-

Trial Committee of the Tenth Circuit); see also Fed. R. Civ. P. 16.
IF AN ATTORNEY OR_A PARTY PROCEEDING PRO §§ FAILS TO APPEAR AT

THE PRE-TRIAL CONFERENCE OR FAILS TO COMPLY WITH THE DIRECTIONS SET

FORTH HEREIN, AN EX PARTE HEARING MAY BE HELD AND/OR JUDGMENT OF

DISMISSAL OR DEFAULT OR OTHER APPROPRIATE JUDGMENT ENTERED.

IT IS SO ORDERED.

ENTERED AS DIRECTED,
THOMAS M: GOULD, CLERK

By= ZL¢,S,.JC£M,M
Deput Cler

DATE z 7//07(@/ 05

   

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Notice of Distribution

This notice confirms a copy of the document docketed as number 6 in
case 1:05-CV-01117 Was distributed by faX, mail, or direct printing on
July 26, 2005 to the parties listed.

 

 

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CIRCUIT COURT CLERK
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Honorable J ames Todd
US DISTRICT COURT

